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                   IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA
                                                                                       FILED ^
                                       Alexandria Division                         IwnPEN COUHT.


 UNITED STATES OF AMERICA                                                               I 6 7-7

        V.                                             No. l:22-cr-40       . CLERK US.DIBIHIGI COURT

 BRUHASPATY PRASAD,

        Defendant.



                                      PLEA AGREEMENT


       Jessica D. Aber, United States Attorney for the Eastern District of Virginia; undersigned

counsel for the United States; the defendant, Bruhaspaty Prasad; and the defendant's counsel

have entered into an agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure.

The terms of this Plea Agreement are as follows:

       1.      Offense and Maximum Penalties


       The defendant agrees to waive indictment and plead guilty to a single count Criminal

Information, charging the defendant with conspiracy to commit wire fraud, in violation of 18

U.S.C. § 1349. The maximum penalties for this offense are: a maximum term of 20 years of

imprisonment, a fine ofthe greater of $250,000 or twice the gross gain or loss, full restitution,

forfeiture of assets as outlined below, a special assessment pursuant to 18 U.S.C § 3013,and a

maximum supervised release term of 3 years. The defendant understands that any supervised

release term is in addition to any prison term the defendant may receive, and that a violation of a

term of supervised release could result in the defendant being returned to prison for the full term

of supervised release.
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       2.      Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty ofthe charged

offense. The defendant admits the facts set forth in the Statement of Facts filed with this Plea

Agreement and agrees that those facts establish guilt ofthe offense charged beyond a reasonable

doubt. The Statement of Facts, which is hereby incorporated into this Plea Agreement,

constitutes a stipulation offacts for purposes of Section 1B1.2(c) ofthe Sentencing Guidelines.

       3.      Assistance and Advice of Counsel


       The defendant is satisfied that the defendant's attorney has rendered effective assistance.

The defendant understands that by entering into this Plea Agreement, defendant surrenders

certain rights as provided in this agreement. The defendant understands that the rights of

criminal defendants include the following:

               a.     the right to plead not guilty and to persist in that plea;

               b.     the right to a jury trial;

               c.     the right to be represented by counsel—and, if necessary, have the court
                      appoint counsel—at trial and at every other stage ofthe proceedings; and

               d.     the right at trial to confront and cross-examine adverse witnesses, to be
                      protected from compelled self-incrimination, to testify and present
                      evidence, and to compel the attendance of witnesses.

       4.      Sentencing Guidelines, Recommendations,and Roles

       The defendant understands that the Court has jurisdiction and authority to impose any

sentence within the statutory maximum described above, but that the Court will determine the

defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

that the Court has not yet determined a sentence and that any estimate ofthe advisory sentencing

range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

may have received from the defendant's counsel, the United States, or the Probation Office, is a
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prediction, not a promise, and is not binding on the United States, the Probation Office, or the

Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker, 543

U.S. 220(2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

impose a sentence above or below the advisory sentencing range, subject only to review by

higher courts for reasonableness. The United States makes no promise or representation

concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

plea based upon the actual sentence.

       Further, in accordance with Federal Rule of Criminal Procedure 11(c)(1)(B), the United

States and the defendant stipulate and will recommend to the Court that the following provisions

ofthe Sentencing Guidelines apply:

 Guideline(s)             Description                                               Offense Level

                          Base offense level (Offense ofconviction has a
 2B 1.1(a)(1)                                                                            +7
                          statutory maximum of20 years of more)
 2Bl.l(b)(l)(I)           Loss more than $1,500,000 but less than $3,500,000             +16

 2Bl.Ub)(2)               Offense involved 10 or more victims                            +2




       The United States and the defendant do not agree whether the offense involved

sophisticated means or was committed substantially outside the United States. Thus, the parties

will argue the applicability of§ 2Bl.l(10)(B)'s corresponding two-level enhancement at

sentencing. Further, the United States and the defendant do not agree whether the offense

involved vulnerable victims within the meaning of§ 3A1.1(b)(1). Thus,the parties will argue

the applicability ofthe corresponding two-level adjustment at sentencing.

       The United States and the defendant further agree that the defendant has assisted the

government in the investigation and prosecution of the defendant's own misconduct by timely

notifying authorities ofthe defendant's intention to enter a plea of guilty, thereby permitting the
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government to avoid preparing for trial and permitting the government and the Court to allocate

their resources efficiently. Ifthe defendant qualifies for a two-level decrease in offense level

pursuant to U.S.S.G. § 3E1.1(a)and the offense level prior to the operation ofthat section is a

level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3El.l(b), a motion prior

to, or at the time of, sentencing for an additional one-level decrease in the defendant's offense

level.


         Based on the defendant's timely entry ofa plea of guilty, the United States agrees not to

pursue additional penalties pursuant to 18 U.S.C. § 2326. The United States further agrees to

recommend a sentence at the low end ofthe advisory Guidelines range as ultimately calculated

by the Court at sentencing.

         The United States and the defendant have not agreed on any further sentencing issues,

whether related to the Sentencing Guidelines or the factors listed in 18 U.S.C. § 3553(a), other

than those set forth above or elsewhere in this Plea Agreement. Any stipulation on a Guidelines

provision does not limit the parties' arguments as to any other Guidelines provisions or

sentencing factors under Section 3553(a), including arguments for a sentence within or outside

the advisory Guidelines range found by the Court at sentencing.

         5.     Waiver of Appeal,FOIA,and Privacy Act Rights

         The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless,the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above (or the manner in

which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this Plea Agreement.
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This agreement does not affect the rights or obligations ofthe United States as set forth in 18

U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency ofthe United States any

records pertaining to the investigation or prosecution ofthis case, including without limitation

any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the

Privacy Act, 5 U.S.C. § 552a.

       6.      Immunity from Further Prosecution in This District

       The United States will not further criminally prosecute the defendant in the Eastern

District of Virginia for the specific conduct described in the Information or Statement of Facts.

This Plea Agreement and Statement of Facts does not confer on the defendant any immunity

from prosecution by any state government in the United States.

       7.      Defendant's Cooperation

       The defendant agrees to cooperate fully and truthfully with the United States, and provide

all information known to the defendant regarding any criminal activity as requested by the

government. In that regard:

               a.     The defendant agrees to testify truthfully and completely at any grand
                      juries, trials or other proceedings.

               b.     The defendant agrees to be reasonably available for debriefing and pre-
                      trial conferences as the United States may require.

               c.     The defendant agrees to provide all documents, records, writings, or
                      materials ofany kind in the defendant's possession or under the
                      defendant's care, custody, or control relating directly or indirectly to all
                      areas of inquiry and investigation.

               d.     The defendant agrees that, at the request ofthe United States, the
                      defendant will voluntarily submit to polygraph examinations, and that the
                      United States will choose the polygraph examiner and specify the
                      procedures for the examinations.
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               e.     The defendant agrees that the Statement of Facts is limited to information
                      to support the plea. The defendant will provide more detailed facts
                      relating to this case during ensuing debriefings.

               f.     The defendant is hereby on notice that the defendant may not violate any
                      federal, state, or local criminal law while cooperating with the
                      government, and that the government will, in its discretion, consider any
                      such violation in evaluating whether to file a motion for a downward
                      departure or reduction of sentence.

               g.     Nothing in this agreement places any obligation on the government to seek
                      the defendant's cooperation or assistance.

       8.      Use ofInformation Provided by the Defendant Under This Agreement

       The United States will not use any truthful information provided pursuant to this

agreement in any criminal prosecution against the defendant in the Eastern District of Virginia,

except in any prosecution for a crime of violence or conspiracy to commit, or aiding and

abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to U.S.S.G. § IBl.8, no

truthful information that the defendant provides under this agreement will be used in determining

the applicable guideline range, except as provided in Section lB1.8(b). Nothing in this

agreement, however, restricts the Court's or Probation Officer's access to information and

records in the possession ofthe United States. Furthermore, nothing in this agreement prevents

the government in any way from prosecuting the defendant should the defendant knowingly

provide false, untruthful, or perjurious information or testimony, or from using information

provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,

administrative or judicial. The United States will bring this agreement and the full extent ofthe

defendant's cooperation to the attention of other prosecuting offices if requested.

       9.      Defendant Must Provide Full, Complete,and Truthful Cooperation

       This agreement is not conditioned upon charges being brought against any other

individual. This agreement is not conditioned upon any outcome in any pending investigation.
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This agreement is not conditioned upon any result in any future prosecution that may occur

because ofthe defendant's cooperation. This agreement is not conditioned upon any result in

any future grand jury presentation or trial involving charges resulting from this investigation.

This agreement is conditioned upon the defendant providing full, complete, and truthful

cooperation.

       10.     Motion for a Downward Departure

       The parties agree that the United States reserves the right to seek any departure from the

applicable sentencing guidelines, pursuant to Section 5K1.1 ofthe Sentencing Guidelines and

Policy Statements, or any reduction of sentence pursuant to Rule 35(b)of the Federal Rules of

Criminal Procedure, if, in its sole discretion, the United States determines that such a departure

or reduction of sentence is appropriate. In addition, the defendant understands that the Court—

not the United States—^will decide what, if any, reduction in sentence is appropriate.

       Furthermore, the proceeding established by the Plea Agreement section titled Breach of

the Plea Agreement and Remedies does not apply to the decision ofthe United States whether to

file a motion based on "substantial assistance" as that phrase is used in Rule 35(b)ofthe Federal

Rules of Criminal Procedure and Section 5K1.1 ofthe Sentencing Guidelines and Policy

Statements. As noted above,the defendant agrees that the decision whether to file such a motion

rests in the sole discretion ofthe United States. In addition, should the defendant violate the Plea

Agreement, as defined in Breach ofthe Plea Agreement and Remedies, or should the defendant

violate this Cooperation Agreement,the United States will be released from its obligations under

either agreement, including any obligation to seek a downward departure or a reduction in

sentence. The defendant, however, may not withdraw the guilty plea entered pursuant to the Plea

Agreement.
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       11.     Payment of Monetary Penalties

       The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613 and 18 U.S.C.

§ 3572, all monetary penalties imposed by the Court, including restitution, will be due

immediately and subject to immediate enforcement by the United States as provided for in

Section 3613. Ifthe Court imposes a schedule of payments, the defendant understands that the

schedule of payments is merely a minimum schedule of payments and not the only method, nor a

limitation on the methods, available to the United States to enforce the judgment. Until all

monetary penalties are paid in full, the defendant will be referred to the Treasuiy Offset Program

so that any federal payment or transfer of returned property to the defendant will be offset and

applied to pay the defendant's unpaid monetary penalties. If the defendant is incarcerated, the

defendant agrees to participate voluntarily in the Bureau of Prisons' Inmate Financial

Responsibility Program, regardless of whether the Court specifically directs participation or

imposes a schedule of payments. Defendant agrees to make good-faith efforts toward payment

of all monetary penalties imposed by the Court.

       12.     Special Assessment

       Before sentencing in this case, the defendant agrees to pay a mandatory special

assessment of$100 per felony count ofconviction, pursuant to 18 U.S.C. § 3013(a)(2)(A).

       13.     Restitution


       The defendant agrees that restitution is mandatory pursuant to 18 U.S.C. § 3663A(c)(l),

and the defendant agrees to the entry of a Restitution Order for the full amount ofthe victims'

losses as determined by the Court. Pursuant to 18 U.S.C. § 3663A(c)(2), the defendant further

agrees that an offense listed in Section 3663A(c)(l) gave rise to this Plea Agreement and, as
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such, victims ofthe conduct described in the charging instrument, Statement of Facts, or any

related or similar conduct shall be entitled to restitution.


        Without limiting the amount of restitution that the Court must impose,the parties agree

that, at a minimum, at least 1,311 victims have suffered losses totaling at least $1,002,829.37.

        The defendant understands that forfeiture and restitution are separate and distinct

financial obligations that must be imposed upon a criminal defendant. The defendant further

understands that restitution will be enforced pursuant to 18 U.S.C. § 3572, 18 U.S.C. § 3613, and

18 U.S.C. § 3664(m).

        14.    Forfeiture Agreement

        The defendant understands that the forfeiture of assets is part ofthe sentence that must be

imposed in this case. The defendant agrees to forfeit all interests in any fraud-related asset that

the defendant owns or over which the defendant exercises control, directly or indirectly. This

includes any property that is traceable to, derived from,fungible with, or a substitute for the

following: property that constitutes the proceeds ofthe offense.

        The defendant understands that ifthe assets subject to forfeiture are not available to the

United States to be forfeited, the Court must enter a forfeiture money judgment in the amount of

the unavailable assets. United States v. Blackman, 746 F.3d 137(4th Cir. 2014). The defendant

acknowledges that as a result of defendant's acts or omissions, the actual proceeds the defendant

obtained as a result ofthe offense ($808,991.74) are not available and the defendant stipulates

that one or more ofthe factors listed at 21 U.S.C. § 853(p)(l) are present in this case.

        The defendant further agrees to waive all interest in the asset(s) in any administrative or

judicial forfeiture proceeding, whether criminal or civil, state or federal. The defendant agrees to

consent to the entry of orders offorfeiture for such property and waives the requirements of
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Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice ofthe forfeiture in the

charging instrument, announcement ofthe forfeiture at sentencing, and incorporation ofthe

forfeiture in the judgment. Defendant admits and agrees that the conduct described in the

charging instrument and Statement of Facts provides a sufficient factual and statutory basis for

the forfeiture ofthe property sought by the government.

       In addition, if restitution is ordered as part ofthe sentence and in the event the defendant

submits a financial affidavit to the U.S. Attorney's Office and the U.S. Attorney's Office

determines, in its sole discretion, that the defendant meets the criteria for restoration under the

restoration policy ofthe Money Laundering and Asset Recovery Section("MLARS")ofthe U.S.

Department of Justice, including an inability to pay both restitution and forfeiture, the U.S.

Attorney's Office will submit a restoration request to MLARS that any amount obtained through

forfeiture to be applied towards any restitution ordered. The defendant understands restoration is

inapplicable if no tangible assets are forfeited. Further, ifthe U.S. Attorney's Office determines

in its sole discretion that the defendant does not meet the criteria for restoration, the U.S.

Attorney's Office shall be under no obligation to make any such restoration request. The

defendant further understands that MLARS,which is not bound by this agreement, retains

ultimate discretion regarding whether to grant or deny any restoration request. Moreover,the

defendant acknowledges that a defendant has no right to an offset against restitution for any

property forfeited. United States v. Blackman,746 F.3d 137(4th Cir. 2014), and agrees not to

challenge any decision made by the U.S. Attorney's Office or MLARS with respect to any

restoration recommendation. The defendant also agrees not to request that the Court reduce or

otherwise offset any forfeiture order entered by the amount of restitution ordered or any

restitution order entered by the amount of any forfeiture ordered.




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        15.     Waiver of Further Review of Forfeiture


        The defendant further agrees to waive all constitutional and statutory challenges to

forfeiture in any manner(including direct appeal, habeas corpus, or any other means)to any

forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the

forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is

accepted as required by Rule 1 l(b)(l)(J). The defendant agrees to take all steps as requested by

the United States to pass clear title to forfeitable assets to the United States, and to testify

truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all

property covered by this agreement is subject to forfeiture as proceeds of illegal conduct and

substitute assets for property otherwise subject to forfeiture.

        16.     The Defendant's Obligations Regarding Assets and Financial Investigation

        The defendant agrees to fully participate in the United States' pre- and post-judgment

financial investigation. Such participation includes the identification of assets in which the

defendant has any legal or equitable interest to determine what assets may be available for

payment to restitution, forfeiture, and/or any fine imposed in this case. The defendant agrees that

the defendant's financial information is subject to investigation and disclosure pre-judgment to

the same extent as financial information will be subject to discovery after judgment is imposed.

The defendant understands that 31 U.S.C. § 3711(h)(1) permits the United States to obtain the

defendant's credit report after sentencing and expressly authorizes the United States to obtain the

defendant's credit report prior to sentencing in this case. The defendant understands that the

United States has sole discretion over whether it will obtain defendant's credit report pursuant to

this Plea Agreement. If the United States determines that it will obtain defendant's credit report




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prior to sentencing pursuant to this Plea Agreement,the defendant authorizes the United States,

and the United States agrees, to provide a copy to defense counsel upon request. The defendant

understands that failure to participate in the financial investigation as described in this paragraph

may constitute the defendant's failure to accept responsibility under U.S.S.G § 3E1.1.

        Within 14 days of a request by the United States, or other deadline agreed upon by the

parties, the defendant agrees to provide all information about all ofthe defendant's assets and

financial interests to the United States and the Probation Office and, if requested, submit to a

debtor's examination, complete a financial disclosure statement under penalty of perjury, and/or

undergo any polygraph examination the United States may choose to administer concerning such

assets and financial interests. The defendant also agrees to provide or consent to the release of

the defendant's tax returns for the previous five years. The defendant understands that assets and

financial interests subject to disclosure include assets owned or held directly or indirectly,

individually or jointly, in which the defendant has any legal interests, regardless of title,

including any interest held or owned under any other name,trusts, and/or business entities

presently and since date ofthe first offense giving rise to this Plea Agreement, or giving rise to

the charges presently pending against the defendant, whichever is earlier.

        The defendant shall identify all assets valued at more than $5,000 that have been

transferred to third parties since the date ofthe first offense giving rise to this Plea Agreement,

including the location ofthe assets and the identities ofthird parties to whom they were

transferred. The defendant agrees not to transfer any assets valued at more than $5,000 without

approval ofthe Asset Recovery Unit ofthe U.S. Attorney's Office until the fine, forfeiture, and

restitution ordered by the Court at sentencing are paid in full or otherwise terminated by

operation of law. The defendant agrees to take all steps requested by the United States to obtain




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from any other parties by any lawful means any records of assets contemplated by this paragraph

in which the defendant has or had an interest. Until the fine,forfeiture, and restitution ordered

by the Court are paid in full or otherwise terminated by operation of law,the defendant agrees to

notify the Asset Recovery Unit ofthe U.S. Attorney's Office of a change in address within 30

days of such change.

       The United States will not use any truthful and complete information provided by the

defendant pursuant to this paragraph for additional criminal offenses against the defendant in the

Eastern District of Virginia, except in any prosecution for a crime of violence or conspiracy to

commit, or aiding and abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to

U.S.S.G. § IB 1.8, no truthful information that the defendant provides pursuant to defendant's

obligations under this paragraph will be used in determining the applicable guideline range,

except as provided in Section IB 1.8(b). Nothing in this agreement, however, restricts the

Court's or Probation Officer's access to information and records in the possession ofthe United

States. Furthermore, nothing in this agreement prevents the United States in any way from

prosecuting the defendant should the defendant knowingly.provide false, untruthful, or

perjurious information or testimony, or from using information provided by the defendant in

furtherance of any forfeiture action or restitution enforcement action, whether criminal or civil,

administrative or judicial.

       17.     Breach of the Plea Agreement and Remedies

       This Plea Agreement is effective when signed by the defendant, the defendant's attorney,

and an attorney for the United States. The defendant agrees to entry ofthis Plea Agreement at

the date and time scheduled with the Court by the United States (in consultation with the

defendant's attorney). If the defendant withdraws from this agreement, or commits or attempts




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to commit any additional federal, state, or local crimes, or intentionally gives materially false,

incomplete, or misleading testimony or information, or otherwise violates any provision of this

agreement, then:

               a.      The United States will be released from its obligations under this
                       agreement. The defendant, however, may not withdraw the guilty plea
                       entered pursuant to this agreement.

               b.      The defendant will be subject to prosecution for any federal criminal
                       violation, including, but not limited to, perjury and obstruction ofjustice,
                       that is not time-barred by the applicable statute of limitations on the date
                       this agreement is signed. Notwithstanding the subsequent expiration of
                       the statute of limitations, in any such prosecution, the defendant agrees to
                       waive any statute-of-limitations defense.

               c.      Any prosecution, including the prosecution that is the subject of this
                       agreement, may be premised upon any information provided, or
                       statements made, by the defendant, and all such information, statements,
                       and leads derived therefrom may be used against the defendant. The
                       defendant waives any right to claim that statements made before or after
                       the date ofthis agreement, including the Statement of Facts accompanying
                       this agreement or adopted by the defendant and any other statements made
                       pursuant to this or any other agreement with the United States, should be
                       excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),
                       the Sentencing Guidelines, or any other provision ofthe Constitution or
                       federal law.

       Any alleged breach ofthis agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

be admissible and at which the moving party shall be required to establish a breach ofthis Plea

Agreement by a preponderance ofthe evidence.

       18.     Nature of the Agreement and Modifications

       This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant's counsel. The defendant and the defendant's attorney

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other than those set forth in writing in this Plea Agreement or any associated documents



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filed with the Court, to cause the defendant to plead guilty. Any modification of this Plea

Agreement shall be valid only as set forth in writing in a supplemental or revised plea agreement

signed by all parties.


                                           Jessica D. Aber
                                           United States Attorney



                                           famar K. Walker
                                           Assistant United States Attorney




                                     By:
                                           Kaitlin G. Cooke
                                           Assistant United States Attorney




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       Defendant's Signature: I hereby agree that I have consulted with my attorney and fully
understand all rights with respect to the pending criminal Information. Further, I fully
understand all rights with respect to 18 U.S.C. § 3553 and the provisions ofthe Sentencing
Guidelines Manual that may apply in my case. I have read this Plea Agreement and carefully
reviewed every part of it with my attorney. I understand this agreement and voluntarily agree to
it.



 Date: _ il/lUd-oU                           ^
                                             Bruhaspaty Prasad
                                                                         '
        Defense Counsel's Signature: I am counsel for the defendant in this case. I have fully
explained to the defendant the defendant's rights with respect to the pending Information.
Further, I have reviewed IS U.S.C. § 3553 and the Sentencing Guidelines Manual, and I have
fully explained to the defendant the provisions that may apply in this case. I have carefully
reviewed every part ofthis Plea Agreement with the defendant. To my knowledge,the
defendant's decision to enter into this agreement is an informed and voluntary one.


 Date:      3  III,                          Samu^C. Moore
                                             Counsel for the Defendant




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